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IN THE UNITED STATES DISTRIC'I` COURT _
FOR THE EASTERN DISTRICT OF TEXAS ~ " ‘ '*"'

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7 Case Nurnber : ' \/ 3
List the full name of each plaintiff in this action. M 0‘220`0\/ L)J(\W\

VS.

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List the full name o each defendant in this action.
Do not use “et al”.

 

 

 

 

 

 

Attach additional pages if necessary
I. ATTEMPT TO SECURE COUNSEL:
Piease answer the following concerning your attempt to secure counsel.

A. In the preparation ot` this suit, I have attempted to secure the aid of an
attorney as follows: (circle one)

1. Employ Counsei
2. Court ~ Appointed Counsel
3. Lawyer Referral Service Of the State Bar of Texas,
P. O. Box 12487, Austin, Texas ?8711.
B. List the name(s) and address(es) of the attorney(s):

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&. Results of the conference with counsel:

 

 

 

ll. List previous lawsuits:

ix Have you filed other lawsuits in state or federal court dealing with the same facts
involved in this action or any other incidents? Yes 3< No
ll If your answer to “A” is “yes”, describe the lawsuit in the space below.
If there is more than one lawsuit, attach a separate piece of paper describing
each.

1. Approximate tile date of lawsuit:

 

h Parties to previous lawsuit(s):

Plaintiff

 

Defendant

 

Attach a separate piece of paper for additional plaintiffs or defendants

g ldentify the court the lawsuit was filed If federal, name the district. lf
state, name the county.

 

 

 

L. Docket number in other court.
g Narne of judge to whom the case was assigned
lS. Disposition: Was the case dismissed, appealed or still pending?

 

%. Approximate date of disposition

 

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lll. Parties to this suit:

  
  

name end address ereeeh piernnfr:

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Pla #2

 

 

 

B. List the full name of each defendant, their official position, place of employment
and full mailing addressl

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th #3

 

 

 

Attach a separate sheet for additional parties

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IV: Statement of Claim:
State as briefly as possible the fact of your case. Describe how each defendant is
involved. lnclude the names of other persons involved with dates and places. Do not
give any legal arguments or cite cases or statutes. If you intend to allege a number of

related claims, number and set forth each claim in a separate paragraph Use as much
space as you need, attaching additional pages if necessary

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V. Relief: State Briefly exactly what you want the court to do for you. Make no legal
arguments ind do not cite cas s or statutes. Attach addition l pages if necessary

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l declare (certify, verify or state) under penalty of perjury that the foregoing is true and correct

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Signature of each plaintiff

 

 

 

